     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 1 of 24



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

Criminal No. 14-10284-NMG


                       UNITED STATES OF AMERICA


                                   v.


                          DUSTIN J. DENUNZIO
                           ANTHONY GATTINERI
                         CHARLES A. LIGHTBODY
                        MEMORANDUM AND ORDER RE:
                   DEFENDANTS’ MOTION TO COMPEL AND
                    REQUEST FOR EVIDENTIARY HEARING
                          (DOCKET ENTRY # 168)

                            August 14, 2015

BOWLER, U.S.M.J.

     Defendants Dustin J. DeNunzio (“defendant DeNunzio”),

Anthony Gattineri (“defendant Gattineri”) and Charles A.

Lightbody (“defendant Lightbody”) (collectively “defendants”)

move to compel two categories of exculpatory evidence under Brady
v. Maryland, 373 U.S. 83 (1963) (“Brady”).       (Docket Entry # 168).

The government opposes production.      (Docket Entry # 178).

     The first category consists of purportedly exculpatory

material evidencing that Wynn Resorts, Ltd. (“Wynn”) knew that

defendant Lightbody, a convicted felon, held an ownership

interest in a parcel of land in Everett, Massachusetts.

Defendants reason that if Wynn knew about defendant Lightbody’s

interest before it signed an option agreement, then defendant

Lightbody’s interest was not material to its decision to purchase

the property.   The Indictment charges inter alia that, as part of

a conspiracy, defendants concealed defendant Lightbody’s
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 2 of 24



financial interest from Wynn via materially false representations

transmitted through wire communications from December 2012

through July 2013.    Defendants therefore move to compel documents

and information relating to Wynn’s knowledge of defendant

Lightbody’s historical and continued interest in the Everett

parcel.1

     The second category concerns any evidence and information

regarding an alleged incident that occurred in the fall of 2013

and involved Joseph Flaherty (“Flaherty”) and Stephen Matthews

(“Matthews”), both former members of the Massachusetts State

Police.    Defendants maintain that unidentified “members of the

Massachusetts State Police and/or the Massachusetts Attorney

General’s Office” allowed Flaherty and Matthews “access to files

concerning an ongoing joint state and federal investigation of

the Defendants.”    (Docket Entry # 168) (emphasis added).        The

files were housed at a secure location “where wiretaps are

performed” in the Massachusetts Attorney General’s Office.

(Docket Entry # 181-2).    The location is “often referred to as

the wiretap room.”    (Docket Entry # 181-2).      Defendants submit

that Flaherty and Matthews worked for Wynn and that their access

to the wiretap room made them “part of the investigatory team in

this matter.”    (Docket Entry # 168).    Because allowing these

     1
        Although the parties’ dispute centers upon production of
the historical interest, the motion is not limited to Wynn’s
knowledge of defendant Lightbody’s historical interest because it
seeks “all evidence and information in its possession, custody or
control relating to Wynn’s knowledge of Lightbody’s alleged
ownership interest in the Everett Parcel.” (Docket Entry # 168).


                                   2
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 3 of 24



individuals, as members of the investigatory team, access to the

wiretap room “probably amounts to a violation of Massachusetts

criminal law,” evidence relating to the incident is exculpatory,

according to defendants.    (Docket Entry # 168).      Defendants

additionally argue that allowing Flaherty and Matthews, as

civilians and private investigators, access to the wiretap room

“raises serious concerns” and likewise probably amounts to a

violation of Massachusetts criminal law, particularly in light of

Flaherty’s acknowledgment that he worked for Wynn in October and

November 2013.   (Docket Entry ## 169, 181, 178-2).        Defendants

also “request an evidentiary hearing on the apparent agency

relationship between Matthews and Flaherty and the joint

state/federal investigation team.”      (Docket Entry # 169).

                              BACKGROUND2

     The Indictment charges defendants with wire fraud in

violation of 18 U.S.C. § 1343, aiding and abetting wire fraud in

violation of 18 U.S.C. § 2 and conspiracy to commit wire fraud in

violation of 18 U.S.C. § 1371.3     As set out in the Indictment,

from December 2012 to July 2013 defendants conspired to conceal

defendant Lightbody’s ownership interest in the Everett parcel

from Wynn and the Massachusetts Gaming Commission (“MGC”) “to

obtain money from Wynn for the Everett Parcel.”        (Docket Entry #

3, ¶ 16).   Defendants purportedly knew that defendant Lightbody’s

     2
        Facts are culled from affidavits, grand jury testimony,
the Indictment and other submissions by the parties.
     3
        It also includes forfeiture allegations under 18 U.S.C. §
981 and 28 U.S.C. § 2461.

                                   3
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 4 of 24



financial interest in the Everett parcel, given his criminal

history, would adversely impact negotiations by FBT Everett, LLC

(“FBT”), which held title to the parcel, for “an option

agreement” and “Wynn’s ability to secure” a casino license.

(Docket Entry # 3, ¶ 16).     The Indictment further states that

defendants obtained money by transmitting materially false

representations in an email to Wynn’s General Counsel that only

defendant DeNunzio, defendant Gattineri and another individual

had interests in FBT.    (Docket Entry # 3, ¶¶ 19, 30, 47).

     Beginning in December 2012, defendants had defendant

Lightbody’s name “removed from FBT ownership documents” even

though he “retained a financial interest” in the parcel.          (Docket

Entry # 3, ¶ 17).    At the same time, defendant DeNunzio “asked

FBT’s attorney to draft paperwork” reflecting a transfer of

defendant Lightbody’s ownership interest to defendant Gattineri

“in exchange for a $1.7 million promissory note.”         (Docket Entry

# 3, ¶ 17).    Between December 1 and 19, 2012, defendant DeNunzio

“asked FBT’s attorney to tell Wynn’s representatives that”

defendant Lightbody “no longer had an interest or was

transferring his interest” in the Everett parcel to FBT.          (Docket

Entry # 3, ¶ 26).

     On December 19, 2012, Wynn and FBT entered into the option

agreement.    (Docket Entry # 3, ¶ 12).     The agreement required

Wynn to pay FBT $100,000 each “month for the right to purchase

the Everett Parcel” in the event MGC awarded Wynn a “destination

resort casino license.”    (Docket Entry # 3, ¶ 12).


                                   4
      Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 5 of 24



      During this time period, Wynn was working with a public

affairs consulting group known as ML Strategies, LLC (“ML

Strategies”), “a wholly-owned subsidiary of Mintz Levin.”

(Docket Entry ## 169-4, 169-5).       ML Strategies, which had worked

with Wynn for a number of years,4 served as a general advisor to

Wynn’s “effort to secure a license . . . in Massachusetts for a

destination casino.”     (Docket Entry # 169-4).      Before signing the

option agreement, ML Strategies helped Wynn identify potential

sites for a casino, including a location in Foxboro,

Massachusetts.    Wynn “withdrew from that location” when it became

clear that the Foxboro community and Foxboro officials were not

interested in a casino.     (Docket Entry # 169-4).

      In or around the fall of 2012, Steven Tocci (“Tocci”),

president of ML Strategies, explored a number of other locations

for Wynn.   “[S]ometime in the fall of 2012,” he became interested

in the Everett parcel and reached out to Wynn regarding the

location.   (Docket Entry # 169-4).      Wynn instructed Tocci to

query Everett officials in order to avoid “go[ing] through the

same experience that [Wynn] had in Foxboro.”         (Docket Entry #

169-4).   Having received a receptive response, Tocci believed the

site “was worth a visit by the Wynn folks.”         (Docket Entry # 169-

4).   Accordingly, Matt Maddox (“Maddox”) of Wynn, accompanied by

Tocci, “took a quick look at the site” and the surrounding area.

      4
        The government does not specifically challenge a
recitation in defendants’ brief of an audio file of an interview
with ML Strategies’ President wherein he stated that Wynn
retained him “roughly seven years ago.” (Docket Entry # 169, p.
8).

                                    5
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 6 of 24



     Later in the fall, Tocci and Maddox returned to the site and

met with defendant DeNunzio and Paul Lohnes (“Lohnes”), another

owner,5 at or near the property.       Meeting with two of the owners

at or near the property demonstrates that Wynn was seriously

considering locating a casino on the Everett parcel.         At the time

of the meeting, Tocci understood that defendant DeNunzio and

Lohnes owned the property because “they said it at that meeting”

and Maddox or someone else had “looked at the Registry of Deeds

records” and found out “the owners of the property.”         (Docket

Entry # 169-4).    Tocci additionally understood that defendant

Gattineri was the third owner of the property.        (Docket Entry #

169-4).

     James Michael Flood (“Flood”), an employee of the DeNunzio

Group,6 stated that he and defendant DeNunzio met with two
representatives of Wynn (Maddox and Kim Sinatra) at the Everett

parcel in the fall of 2012.     Flood testified that defendant

DeNunzio told “‘the Wynn folks’” that, “‘we have a partner who

has a checkered past, but we’re in the process of getting him out

of the property.’”    (Docket Entry # 169, p. 14).7
     “Towards December” 2012, Tocci acknowledged “there was an

inquiry from a reporter from the Boston Business Journal” to


     5
          (Docket Entry # 169-5, p. 17).
     6
        Defendants represent that Flood “was employed by the
DeNunzio Group, the Manager of FBT.” (Docket Entry # 169).
     7
        The government does not challenge the accuracy of
defendants’ recitation (Docket Entry # 169, p. 14) of Flood’s
testimony before the grand jury.

                                   6
      Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 7 of 24



Nancy Sterling (“Sterling”) of ML Strategies asking whether she

was “‘aware of other possible owners’” of the property.           (Docket

Entry # 169-5).    Sterling relayed the information to Tocci, which

led Bob Havern (“Havern”) of ML Strategies to find out if there

was any truth to the matter.      According to Tocci, Havern reported

that there was “‘no truth to it’” and there were “‘only three

owners.’”8   (Docket Entry # 169-5).      Tocci does not remember any

specific names mentioned as part of the inquiry.         (Docket Entry #

169-5).   He did not consider the matter “all that serious at that

point, because” he knew the Registry of Deeds had been checked

and it listed the “three people.”       (Docket Entry # 169-5).         He

also stated that, “[I]f it was something, we should find out if

there’s anything else we needed to know.”        (Docket Entry # 169-

5).

      On the same day or a day later, Tocci advised Wynn that,

“‘There’s something going on.      I’m not sure exactly what it is.’”

(Docket Entry # 169-5).     The day after the reporter’s inquiry,

Tocci spoke with Mayor DeMaria about various matters and

mentioned that a reporter from the Boston Business Journal had

contacted ML Strategies about the ownership of the Everett

parcel.   (Docket Entry ## 169, 169-5).       More specifically, Tocci

told Mayor DeMaria that a reporter “‘was chasing around about the

      8
        In June 2014, the Investigations and Enforcement Bureau
of MGC (“IEB”) interviewed Mayor Carlo DeMaria (“Mayor DeMaria”)
of the City of Everett, according to defendants. During the
interview, Mayor DeMaria stated that Havern “asked if we knew”
defendant Lightbody. (Docket Entry # 169, p. 12). The
government does not question the accuracy of defendants’
recitation of the Mayor’s statement set out in their brief.

                                    7
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 8 of 24



land deal’” and that, “‘If there is anybody in that deal who has

any kind of a criminal background, I know Wynn, and they’re not

going forward.’”    (Docket Entry # 169, p. 9).9      Mayor DeMaria

then asked Tocci, “‘Who are you talking about?’” and, when Tocci

replied that he did not know, Mayor DeMaria “said, ‘Was it

Lightbody?’”10    (Docket Entry # 169, p. 9).     Tocci replied that

he did not “‘know the name.’”     (Docket Entry # 169, p. 9).          Tocci

also stated this was the first time he had heard the name

Lightbody and that, after the conversation and the publication of

a December 14, 2012 article in the Boston Business Journal, Tocci

focused on negotiating a host agreement.       (Docket Entry # 169-5).

Tocci’s grand jury testimony reads that, “It was clear to us that

there were still three owners, the registered owners, and we had

a very tight timeline . . . to negotiate a host agreement, and .

. . carry on an election . . ..”       (Docket Entry # 169-5).     At

another point during his grand jury testimony, Tocci explained

that “sometimes” he does not “place a lot of trust in newspaper

articles.”   (Docket Entry # 169-5).

     On January 14, 2013, after Wynn signed the option agreement,

it submitted an application to MGC along with a non-refundable

$400,000 license fee to locate a destination resort casino on the

Everett parcel.    (Docket Entry # 3, ¶ 13).     On January 17, 2013,

     9
        Defendants’ brief recites the conversation (Docket Entry
# 169) and the government does not challenge the accuracy of
defendants’ transcription. Tocci also recounted the conversation
to the grand jury. (Docket Entry # 169-5).
     10
        The conversation took place before Wynn executed the
December 19, 2012 option agreement.

                                   8
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 9 of 24



defendant DeNunzio emailed Wynn’s General Counsel and “falsely”

stated that defendants DeNunzio and Gattineri and another

individual, presumably Lohnes,11 “were the only people who had

[an] interest in FBT.”    (Docket Entry # 3, ¶ 19).       As further

stated in the Indictment, defendant DeNunzio nonetheless knew

that defendant Lightbody, along with another individual referred

to as John Doe, had financial interests in FBT.        (Docket Entry #

3, ¶ 19).    “[O]n or about January 28, 2013,” defendant DeNunzio

arranged for defendants Lightbody and Gattineri “to execute a

Memorandum of Transfer and Promissory Note” backdated to December

14, 2012, reflecting a transfer of defendant Lightbody’s interest

in FBT to defendant Gattineri.     (Docket Entry # 3, ¶¶ 17, 18).

     On July 2, 2013, Lieutenant Kevin Condon (“Condon”) of the

Massachusetts State Police, a member of the IEB (Docket Entry #

178, n.1), first learned about a possibility that an undisclosed

principle in FBT “had a substantial criminal record.”12         (Docket

Entry # 169-3).    At this point in time, the IEB was conducting a

suitability investigation of Wynn as an applicant for a gaming

license.    (Docket Entry # 3, ¶¶ 3, 18).     A few days later on July

9, 2013, IEB investigators interviewed defendant DeNunzio “about

who had a financial interest in the Everett Parcel.”         (Docket

Entry # 3, ¶¶ 34, 35).    On July 10 and 11, 2013, defendant


     11
           (Docket Entry # 169-5, p. 17).
     12
        Defendants do not dispute the government’s statement
that Condon was part of the IEB. The government also represents
that the IEB learned about defendant Lightbody’s interest in July
2013.

                                   9
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 10 of 24



DeNunzio made a number of false statements to IEB investigators

about defendant Lightbody’s financial interest in the Everett

parcel.   (Docket Entry # 3, ¶ 38).

     In late summer 2013, MCG brought the ownership issue to the

attention of Wynn and Tocci.      (Docket Entry ## 169-4, 169-5).

Tocci testified that Lightbody’s name “came up because he was

identified as having a loan due him from one of the partners of

the land” and “it was an actual note.”       (Docket Entry # 169-5).

     In late September 2014, state Indictments issued charging

defendants with concealing defendant Lightbody’s interest in FBT

from MGC investigators.13    On October 1, 2014, a grand jury

returned the two count Indictment in this case.

                               DISCUSSION
     Citing Brady, defendants move to compel the government to

produce exculpatory information that Wynn was aware of defendant

“Lightbody’s historic ownership interest in the Everett Parcel.”

(Docket Entry # 169).    According to defendants, such awareness

undermines any claim by Wynn that defendant “Lightbody’s

ownership status was material to its decision to purchase the

Everett Parcel.”    (Docket Entry # 169) (emphasis added).        They

     13
        The government disputes defendants’ statements (Docket
Entry # 169, p. 5) that the federal and state Indictments “‘were
the culmination of a joint criminal investigation by the U.S.
Attorney’s Office . . . and the IEB of the Massachusetts Gaming
Commission.’” (Docket Entry # 178, n.1). The government does
not dispute the existence of the state Indictments or defendants’
description of them as charging defendants with impeding the IEB
and the MGC by making false statements about defendant
Lightbody’s ownership of FBT and tampering with documents used in
an official MGC proceeding.

                                   10
    Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 11 of 24



submit that if Wynn knew about defendant Lightbody’s historical

interest in the property and that he was “in the process of being

bought out,” then Wynn’s failure to “engage in any meaningful due

diligence to confirm that information” shows that it did not

consider defendant Lightbody’s ownership interest material to its

decision to enter into the option agreement and purchase the

property from FBT.   (Docket Entry ## 168, 169, 181).       Defendants

further contend that Wynn’s knowledge is exculpatory because it

could “impeach any claims by Wynn” that defendant Lightbody’s

ownership status was material to its decision to purchase the

property.   (Docket Entry # 169).

     Defendants also argue that if Wynn was aware of defendant

Lightbody’s ownership interest but feigned ignorance, it “would

reveal an outrageous corruption” underscored by the fact that

Wynn used the state’s investigation “to obtain a $40 million

reduction” of the agreed upon purchase price of the Everett

parcel.   (Docket Entry # 169).    Defendants maintain that Wynn’s

awareness of defendant Lightbody’s historic ownership interest,

gleaned through Flaherty’s and Matthews’ unauthorized access to

the wire room, would likewise be highly exculpatory and negate

defendants’ guilt.   (Docket Entry # 169).

     The government argues that Wynn’s knowledge of defendant

Lightbody’s historical ownership interest is neither exculpatory

nor material to the defense because the relevant time period is


                                  11
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 12 of 24



from December 2012 to July 2013, when defendants concealed

defendant Lightbody’s continued interest in the property from

Wynn and MGC, as charged in the Indictment.        The government also

disputes any contention that IEB investigators and MGC were

working as part of a joint investigative team with the United

States Attorney’s Office.     The government additionally points out

that it produced the IEB interviews of Tocci and Mayor DeMaria as

well as all relevant grand jury transcripts.

A.   Materiality of Wynn’s Knowledge of Defendant Lightbody’s

Interest

      Brady requires the prosecutor “to disclose material evidence

in his possession that is favorable to the defendant.”          Drumgold

v. Callahan, 707 F.3d 28, 38 (1st Cir. 2013).       “Evidence is

favorable to the accused if it is either exculpatory or

impeaching in nature and material if there is a reasonable

probability that, had it been disclosed, the result of the

proceeding would have been different.”       United States v.

Cruz-Feliciano, 786 F.3d 78, 87 (1st Cir. 2015) (internal

quotation marks omitted); see U.S. v. Bulger, 928 F.Supp.2d 305,

324 (D.Mass. 2013) (materiality “is ‘traditionally assessed from

the vantage point of appellate review’” and “[c]ourts consider

evidence material if its disclosure has a ‘reasonable

probability’ of affecting the outcome at trial”).         “[E]xculpatory

evidence includes evidence that casts doubt on the credibility or


                                   12
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 13 of 24



accuracy of any witness the government anticipates calling at

trial or any evidence the government expects to proffer at

trial.”   United States v. Moon, 2012 WL 2178923, at *2 (D.Mass.

June 13, 2012) (citing United States v. Bagley, 473 U.S. 667, 678

(1985), and Giglio v. United States, 405 U.S. 150, 154 (1972)).

     The Indictment sets out charges of wire fraud and conspiracy

to commit wire fraud.    “The elements of a wire fraud conviction

under 18 U.S.C. § 1343 are:     (1) a scheme or artifice to defraud

using false or fraudulent pretenses; (2) the defendant’s knowing

and willing participation in the scheme or artifice with the

intent to defraud; and (3) the use of the interstate wires in

furtherance of the scheme.”     United States v. Appolon, 715 F.3d

362, 367-368 (1st Cir.), cert. denied, 134 S.Ct. 335 (2013).

Notably, “[t]he false or fraudulent representation must be

material” although the government does not have to show that “the

decisionmaker actually relied on the falsehood.”         Id.   A “‘false

statement is material if it has a natural tendency to influence,

or [is] capable of influencing, the decision of the

decisionmaking body to which it was addressed.’”         United States

v. Blastos, 258 F.3d 25, 29 (1st Cir. 2001) (quoting Neder v.

United States, 527 U.S. 1, 16 (1999)).

     In the fall of 2012, Wynn was preparing an application for a

resort destination casino license located on the Everett parcel.

Massachusetts law required MGC to deny a gaming license if the


                                   13
    Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 14 of 24



applicant was a convicted felon or has a close associate “that

would not qualify for a license.”      Mass. Gen. L. ch. 23K, § 16.

Defendant Lightbody was a convicted felon and, purportedly

unbeknownst to Wynn, had a financial interest in the Everett

parcel at the time Wynn entered into the option agreement and

when Wynn purchased the Everett parcel.      (Docket Entry # 3, ¶¶ 7,

15, 16).    From the perspective of Wynn as a casino applicant, the

fact that a convicted felon had a financial interest in the

Everett parcel would have a natural tendency to influence Wynn’s

decision to execute the option agreement and to continue the

$100,000 monthly payments “[b]eginning in or about December 2012

and continuing until at least September 2014.”       (Docket Entry #

3, ¶ 12).   If Wynn knew about defendant Lightbody’s financial

interest and proceeded to execute the option agreement or make

the monthly payments, then such evidence would tend to negate a

finding that defendants’ misrepresentation or concealment of that

fact was material.   Wynn’s knowledge or the extent of its

knowledge of defendant Lightbody’s interest at the time it signed

the option agreement necessarily depends upon what it knew in the

weeks preceding the agreement.     The knowledge Wynn acquired at

and after it met with the two owners (defendant DeNunzio and

Lohnes) at or near the property in the fall of 2012 (Docket Entry

# 169-4, pp. 11-12) through July 2013, as charged in the




                                  14
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 15 of 24



Indictment,14 thus directly impacts a required element in the

government’s case.    It is therefore material under Brady because

there is a reasonable probability that evidence of defendant

Lightbody’s interest, if disclosed to Wynn or MGH during this

relevant time period, will affect the outcome at trial.

B.   Possession, Custody or Control

      In order to comply with Brady, the “prosecutor has a duty to

learn of any favorable evidence known to the others acting on the

government’s behalf in the case.”       Kyles v. Whitley, 514 U.S.

419, 437 (1995); accord United States v. Misla-Aldarondo,          478

F.3d 52, 66 n.8 (1st Cir. 2007) (quoting same language in Kyles

and emphasizing the words “in the case”); United States v.

Hampton, 2015 WL 3794750, at *6 (D.Mass. June 18, 2015) (quoting

Kyles, 514 U.S. at 437).     The government’s disclosure duty,

however, “only extend[s] to information in its possession,

custody, or control.”    United States v. Hall, 434 F.3d 42, 55

(1st Cir. 2006).   Simply stated, “‘while a prosecutor must

disclose information maintained by government agents even if the

prosecutor herself does not possess the information, this duty

does not extend to information possessed by government agents not

working with the prosecution.’”      United States v.

Rivera-Rodriguez, 617 F.3d 581, 595 (1st Cir. 2010) (quoting


      14
        The Indictment sets the time of the conspiracy as
“continuing through in or about July 2013.” (Docket Entry # 3, ¶
14).

                                   15
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 16 of 24



United States v. Hall, 434 F.3d at 55, and omitting internal

citations).

     Here, David Rubin, Esq. (“Attorney Rubin”), a special

assistant United States Attorney in this prosecution, examined a

number of grand jury witnesses on behalf of the government.

(Docket Entry ## 169-2, 169-4, 169-5).       He entered an appearance

in this case as “additional counsel for the United States” in

December 2014.   (Docket Entry # 48).      Attorney Rubin is also

listed as a prosecutor in the state prosecution on a grand jury

transcript along with Patrick Hanley, Esq. of the Gaming

Enforcement Division of the Massachusetts Attorney General’s

Office.   (Docket Entry # 169-3).       To state the obvious, Attorney

Rubin was and is a member of the prosecution team in this case.

The government therefore has an obligation to disclose

exculpatory information of Wynn’s knowledge of defendant

Lightbody’s interest known by Attorney Rubin even if acquired in

the course of his involvement in the state investigation.          See

generally United States v. Bender, 304 F.3d 161, 164 (1st Cir.

2002) (“individual prosecutor has a duty to find any evidence

favorable to the defendant that was known to those acting on the

government’s behalf” including “other members of the prosecuting

team”); United States v. Osorio, 929 F.2d 753, 761 (1st Cir.

1991) (“prosecutor charged with discovery obligations cannot

avoid finding out what ‘the government’ knows, simply by


                                   16
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 17 of 24



declining to make reasonable inquiry of those in a position to

have relevant knowledge” and prosecutor failed to discover

impeachment evidence from others in his office); Freeman v.

United States, 284 F.Supp.2d 217, 227 (D.Mass. 2003) (under Brady

“prosecutor has a duty to find any evidence favorable to the

defendant that is known by the prosecution team, which includes

their fellow attorneys and the police or FBI agents investigating

the crime, that is, those acting on the government’s behalf in

the case against the accused”).

     Beyond disclosing exculpatory evidence of Wynn’s knowledge

known to Attorney Rubin (or other member of the federal

prosecution team), the government’s duty does not require

disclosure of information possessed by a separate sovereign

conducting its own investigation and not acting on behalf of the

federal government.    See Moreno-Morales v. United States, 334

F.3d 140, 146-147 (1st Cir. 2003).      In Moreno-Morales, the Puerto

Rico Senate was conducting an independent investigation and “not

acting on behalf of the federal government.”        Id. at 146.    Thus,

even though “federal prosecutors may have observed some of the

questioning and may have reopened their investigation as a result

of what they learned in the hearings, the notes of the Senate

hearings were under seal and there [was] no evidence that they

were turned over to federal prosecutors.”        Id.   “Principles of

federalism” therefore led the court to conclude that, “‘the


                                   17
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 18 of 24



state’s knowledge and possession of potential impeachment

evidence cannot be imputed to a federal prosecutor for purposes

of establishing a Brady violation.’”          Id. at 146-147.

        Here too, the Commonwealth is a separate sovereign

conducting its own investigation.          Moreover, the evidence

presented is not sufficient to impose an affirmative duty on the

federal prosecutors in this case to inquire and uncover

exculpatory evidence of Wynn’s knowledge of defendant Lightbody’s

interest in the Everett parcel that remains in the possession of

state investigators who were not acting on behalf of the

prosecution in this case.       The fact that the Indictment

identifies overt acts involving IEB investigators15 or that the

state Indictments based on similar misconduct issued around the

time of the Indictment in this case does not mean that IEB

investigators were acting on behalf of the federal prosecutors in

this case.

        Defendants next submit that Flaherty and Matthews “were in

effect made a part” of the prosecution team inasmuch as they

“were given access to sensitive, confidential files” in the wire

room.        (Docket Entry # 168).   Brady undeniably extends to

“members of the prosecuting team, including police investigators



        15
        As pointed out by defendants, the Indictment identifies
overt acts that defendants DeNunzio and Lightbody made false
statements to IEB investigators in early July 2013 about the
latter’s financial interest in the Everett parcel.

                                      18
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 19 of 24



working for the prosecution.”      United States v. Bender, 304 F.3d

at 164 (dicta); accord Kyles v. Whitley, 514 U.S. at 438

(prosecutor “has a duty to learn of any favorable evidence known

to the others acting on the government’s behalf in the case,

including the police”).     Who qualifies as a police investigator

working for the prosecution, however, is debatable.         See Lopez v.

Massachusetts, 480 F.3d 591, 595 n.4 (1st Cir. 2007) (“Brady

applies even if evidence is known only to police investigators,

but who counts in the latter category could be debated”) (citing

United States v. Bender, 304 F.3d at 164, and United States v.

Osorio, 929 F.2d at 760-62).      Here, Flaherty, a retired member of

the state police, worked for Mintz Levin on behalf of Wynn from

October 18 to November 13, 2013.16      Matthews denies that he

worked for Mintz Levin, ML Strategies or Wynn.        Even assuming

that they were seen in the wire room on a single occasion in the

fall of 2013 (Docket Entry ## 181-1, 181-2) at a time when

Flaherty was working for Mintz Levin on behalf of Wynn17 (Docket

Entry # 178-2) or were in the wiretap room in March 2014 on

another matter (Docket Entry ## 178-1, 178-2), these facts do

not, without more, establish that they were members of the



     16
        By letter dated July 6, 2015, Wynn’s attorney denied
that Wynn employed the investigators.
     17
        Flaherty denies that he performed “any work for Wynn at
the Massachusetts Attorney General’s Office.” (Docket Entry #
178-2).

                                   19
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 20 of 24



federal team or working on behalf of the federal government in

its prosecution of this case.

        Defendants also seek an evidentiary hearing to ascertain

“the apparent agency relationship between Matthews and Flaherty

and the joint state/federal investigation team.”18        (Docket Entry

# 169).        A criminal defendant does not have an “‘absolute or

presumptive right to insist that the district court take

testimony on every motion.’”        United States v. Connolly, 504 F.3d
206, 219 (1st Cir. 2007) (quoting United States v. Panitz, 907

F.2d 1267, 1273 (1st Cir. 1990)).         “The test for granting an

evidentiary hearing in a criminal case” is “substantive:           did the

defendant make a sufficient threshold showing that material facts

were in doubt or dispute?”        United States v. Panitz, 907 F.2d at

1273.        Although an agency relationship is relevant, the

prosecutor’s “‘duty does not extend to information possessed by

government agents not working with the prosecution.’”          United

States v. Rivera-Rodriguez, 617 F.3d at 595 (whereas “‘prosecutor

must disclose information maintained by government agents . . .,
this duty does not extend to information possessed by government

agents not working with the prosecution’”).

        In the case at bar, there is not enough evidence to create a

dispute that Flaherty and Matthews were working with the federal

government in its prosecution in this case.         Assuming for

purposes of argument that they were observed in the wiretap room

        18
              Defendants do not provide any law to support the
request.

                                     20
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 21 of 24



on a single occasion in the fall of 2013 at a time when Flaherty

was performing work for Minz Levin on Wynn’s behalf and were in

the wiretap room on another matter in March 2014, these facts do

not create a sufficient dispute that they were acting on behalf

of the federal government in this case.       It is also worth noting

that the wiretap room likely houses wiretap evidence in numerous

investigations and there is no indication that it houses only

wiretap evidence relative to a single proceeding, i.e., the IEB

investigation of defendants.19

C.   Alleged Incident

     Separately, defendants submit that the access of Flaherty

and Matthews, as civilians or private investigators, to the

wiretap room raises serious questions about the integrity of the

investigation and the prosecution of this case.         According to

defendants, allowing private investigators working for the

victim, Wynn, access to the wiretap room, which houses

confidential files, falls under Brady and likely amounts to a

violation of Massachusetts criminal law.        Assuming that the

conduct, if true, violates Massachusetts Attorney General’s

Office rules restricting access to the wiretap room or

contravenes a general order of the state police regarding


     19
        John J. Walsh, a former detective lieutenant of the
Massachusetts State Police, attests that during his 38 year
career with the Massachusetts State Police, he “worked on
numerous state and federal narcotics investigations in which
electronic surveillance known as wiretaps were used” and that
“strict rules and laws” govern “all aspects of wiretaps,
including who may have access to the wiretap room.” (Docket
Entry # 181-1, ¶ 2) (emphasis added).

                                   21
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 22 of 24



dissemination of confidential official business, defendants do

not show how the information is exculpatory under Brady.          Bad act

or character evidence of a witness is generally not admissible,

Fed.R.Evid. 404, there is no criminal conviction of Flaherty or

Matthews relative to their presence, if any, in the wiretap room,

see Fed.R.Evid. 609, and the conduct, if any, does not appear

geared toward untruthfulness on the part of either Flaherty or

Matthews, see Fed.R.Evid. 608; United States v. Bunchan, 580 F.3d

66, 71 (1st Cir. 2009) (“Rule 608(b) only permits inquiry into

prior conduct if the conduct is probative of the witness’s

character for truthfulness or untruthfulness”).         It is also well

settled that, “[I]nadmissible evidence is by definition not

material, because it never would have reached the jury and

therefore could not have affected the trial outcome.”          U.S. v.

Ranney, 719 F.2d 1183, 1190 (1st Cir. 1983).       In addition, there

is no showing or indication that the files in the wiretap room

housed information relating to Wynn’s knowledge of defendant

Lightbody’s interest in the Everett parcel such that the evidence

would support the premise that Wynn or MCG knew about defendant

Lightbody’s interest during the above described fall 2012 through

July 2013 time period.     In any event, that information, if any,

is subject to production if known to Attorney Rubin as a member

of the federal prosecution team.

D.   Production

      In sum, information known to Attorney Rubin regarding Wynn’s


                                   22
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 23 of 24



knowledge of defendant Lightbody’s financial interest in the

Everett parcel from the time of the fall 2012 meeting with

defendant DeNunzio and Lohnes at or near the property to July

2013 is subject to production as exculpatory evidence to the

extent it is encompassed in the applicable requests made by

defendants in the motion (Docket Entry # 168, pp. 5-6).          The

record fails to provide an adequate basis to require the

government to produce the categories “relating to the Alleged

Incident” (Docket Entry # 168, pp. 4-5).        Defendants’ request for

documents made by state and federal officials “during all

interviews of James Michael Flood” (Docket Entry # 168, p. 6),

however, is not subject to production.       Brady only “applies to

material that was known to the prosecution but unknown to the

defense.”   United States v. Bender, 304 F.3d at 164; see United

States v. Rodriguez, 162 F.3d 135, 147 (1st Cir. 1998)

(“government has no Brady burden when the necessary facts for

impeachment are readily available to a diligent defender, as they

were here”).    Flood was an employee of the DeNunzio Group and was

at the meeting with defendant DeNunzio representing FBT in the

fall of 2012.   Defendants therefore know or have easy access to

any information Flood might have given during the interviews.

     In order to allow defendants sufficient time to use the

exculpatory material effectively in preparing and presenting

their case, see United States v. Van Anh, 523 F.3d 43, 51 (1st


                                   23
     Case 1:14-cr-10284-NMG Document 190 Filed 08/14/15 Page 24 of 24



Cir. 2008), the government is directed to disclose such

information 21 days prior to trial, which is currently set to

commence on November 2, 2015.      See United States v. Tsarnaev,

2013 WL 6196279, at *1 (D.Mass. Nov. 27, 2013) (“Brady

information need only be disclosed ‘in adequate time for the

information to be used effectively by the defense at trial’”)

(quoting United States v. Brassard, 212 F.3d 54, 56 (1st Cir.

2000)).

                               CONCLUSION

     In accordance with the foregoing discussion, the motion to

compel (Docket Entry # 168) is ALLOWED in part and DENIED in

part.



                                 /s/ Marianne B. Bowler
                               MARIANNE B. BOWLER
                               United States Magistrate Judge




                                   24
